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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


 JAMES GREENE, JENNIFER SHAAL, OFER                                 No. 19-cv-4304 (ILG)(SJB)
 SHAAL, JAKE STONE, GUY SHOSHAN, EINAT
 EZRA MICHAELI, and YIFAT SHMILOVICH, on
 behalf of themselves and all others similarly situated,      STIPULATION AND ORDER TO
                                                              EXTEND TIME TO RESPOND TO
                                   Plaintiffs,                     THE COMPLAINT
                         v.

 KABBALAH CENTRE INTERNATIONAL,
 INCORPORATED; KABBALAH CENTRES OF
 THE UNITED STATES, INCORPORATED;
 KABBALAH CENTRE OF NEW YORK,
 INCORPORATED; THE KABBALAH CENTRE OF
 FLORIDA, INC.; KABBALAH CHILDREN’S
 ACADEMY; KABBALAH ENTERPRISES,
 INCORPORATED; KAF INVESTMENTS, LLC; 501
 N. LA CIENEGA, LLC; SPIRITUALITY FOR KIDS
 INTERNATIONAL, INC.; and KAREN BERG,
 YEHUDA BERG, and MICHAEL BERG,

                                   Defendants.


        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

attorneys for the parties, that:

    1. The time within which Defendants Kabbalah Centre International, Incorporated; Kabbalah

        Centres of the United States, Incorporated; Kabbalah Centre of New York, Incorporated;

        The Kabbalah Centre of Florida, Inc.; Kabbalah Children’s Academy; Kabbalah

        Enterprises, Incorporated; KAF Investments, LLC; 501 N. La Cienega, LLC; Spirituality

        For Kids International, Inc.; and Karen Berg, Yehuda Berg, and Michael Berg (collectively,

        “Defendants”) may move, answer, or otherwise respond to the Complaint is hereby

        extended from August 19, 2019 through August 23, 2019, to and including September 23,

        2019;

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   2. In the event that any of Defendants files a motion in lieu of an answer, Plaintiffs James

       Greene, Jennifer Shaal, Ofer Shaal, Jake Stone, Guy Shoshan, Einat Ezra Michaeli, and

       Yifat Shmilovich (collectively, “Plaintiffs”) will have to and including November 4, 2019

       to file their opposition or to amend the Complaint pursuant to Fed. R. Civ. P. 15(a)(2); and

   3. Defendants will have to and including November 25, 2019 to file their reply to Plaintiffs’

       opposition or to respond to any amended complaint.

       There has been no previous request for an extension of time in connection with this matter.

Facsimile or electronic signatures on this Stipulation are hereby deemed originals. No provision

of this Stipulation and Order shall be construed as a waiver of, and Defendants hereby expressly

reserve, any and all defenses.

Dated: New York, New York
       August 15, 2019


 PIERCE BAINBRIDGE BECK PRICE &                          PROSKAUER ROSE LLP
 HECHT LLP

 /s/ Deborah H. Renner                                   _/s/ Elise M. Bloom_______________
 Deborah H. Renner                                       Elise M. Bloom
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 Attorneys for Plaintiffs James Greene,                  Attorneys for Defendants Kabbalah
 Jennifer Shaal, Ofer Shaal, Jake Stone, Guy             Centre International, Incorporated;
 Shoshan, Einat Ezra Michaeli, and Yifat                 Kabbalah Centres of the United
 Shmilovich                                              States, Incorporated; Kabbalah

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                                               Centre of New York, Incorporated;
                                               The Kabbalah Centre of Florida, Inc.;
                                               Kabbalah Children’s Academy;
                                               Kabbalah Enterprises, Incorporated;
                                               KAF Investments, LLC; 501 N. La
                                               Cienega, LLC; and Spirituality For
                                               Kids International, Inc.

 SHAPIRO ARATO BACH LLP                        LAW OFFICE OF JOHN D. CLINE


 _/s/ Jonathan P. Bach__________________       _/s/ John D. Cline________________
 Jonathan P. Bach                              John D. Cline

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 Attorneys for Defendants Karen Berg           Attorneys for Defendant Yehuda
 and Michael Berg                              Berg



Dated: Brooklyn, New York              SO ORDERED:
       ________ __, 2019

                                       __________________________
                                       HON. I. LEO GLASSER
                                       UNITED STATES SENIOR DISTRICT JUDGE




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